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                      IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF HAWAII

  PATRICK FEINDT, JR. et al.,                  CIVIL NO. 22-cv-00397-LEK-KJM

        Plaintiffs,                            STIPULATED SECOND
  v.                                           AMENDED RULE 16
                                               SCHEDULING ORDER
  UNITED STATES OF AMERICA,
                                               TRIAL DATE: March 25, 2024
        Defendant.                             TIME: 9:00 a.m.
                                               JUDGE: Hon. Leslie E. Kobayashi

                 STIPULATED SECOND AMENDED RULE 16
                         SCHEDULING ORDER




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           Pursuant to Fed. R. Civ. P. 16(e) and LR 16.3, the Court enters this
   scheduling conference order:

   TRIAL DATE:

   1.      NON-JURY trial in this matter will commence before the Honorable
   Leslie E. Kobayashi, United States District Judge on March 25, 2024, at 9:00
   a.m..

   AMENDING PLEADINGS:

   2.      All motions to join additional parties or to amend the pleadings shall be
   filed by April 4, 2023.

   EXPERT WITNESSES:

   3.      Each party shall make the disclosures regarding expert witnesses or other
   witnesses with specialized knowledge as required by Fed. R. Civ. P. 26(a)(2)
   according to the following schedule:
                a.     Plaintiffs shall comply by July 24, 2023.
                b.     Defendants shall comply by October 9, 2023.
   Rebuttal disclosures to a witness identified by another party pursuant to
   subparagraphs a and b hereinabove shall occur within thirty (30) days after the
   disclosure by the other party.

   DISCOVERY:

   4.      Unless and until otherwise ordered by the Court, the parties shall
   follow the discovery plan agreed to by the parties herein pursuant to Fed.
   R. Civ. P. 26(f).


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   5.     Plaintiff Fact Sheets
               a. All Plaintiffs shall complete written discovery in the form of a
   Plaintiff Fact Sheet (“PFS”). Plaintiffs’ counsel shall also submit authorizations
   for the release of records specified in the PFS and any documents specified in
   the PFS which are in Plaintiffs’ possession, custody, or control (as those words
   are used in Rule 34(b)). The Parties have agreed to the form of a PFS and
   accompanying releases.
               b. Plaintiffs shall submit completed PFS and authorizations on a
   rolling basis, but no later than February 3, 2023.
   6.     Bellwether Plaintiff Group
               a. The Parties agree and the Court finds that implementing a
   bellwether process is the most efficient, fair, and practical method for
   litigating these claims. See Manual Complex Lit. § 22.312 (4th ed.). Use of a
   bellwether process will enable the parties to select a representative sample of
   plaintiffs to proceed through full discovery and trial and then use those test
   cases to help narrow the issue and resolve other cases. See Manual Complex
   Lit. § 22.315 (4th ed.). To effectuate the bellwether process, the parties agree
   to—and the Court orders them to adhere to—the following process:
               b. The Parties shall select six of the thirty-one families listed in the
   Second Amended Complaint, ECF 49, to serve as Bellwether Plaintiffs.1 All
   plaintiff members of the selected families will be Bellwether Plaintiffs.
               c. Selection Process:
                     • After the Court enters this Order, the Parties shall

                      select the first (2) Bellwether Plaintiffs by random


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                      selection.
                     • By March 3, 2023, each Party shall select two

                   additional Bellwether Plaintiff families in the following order:
                      (1) 1 selection by Plaintiffs; (2) 1 selection by Defendant; (3)
                   1 selection by Plaintiffs; (4) 1 selection by Defendant.
               d. Bellwether Plaintiffs shall be subject to full discovery,
   including deposition. At this time, all other Plaintiffs shall be subject only to
   Plaintiff Fact Sheets.
               e. The trial date and all pretrial deadlines set by the Court shall apply
   only to the Bellwether Plaintiffs.
               f. The Parties agree that while the results of the Bellwether Plaintiffs’
   claims shall not be binding on any other Plaintiff, the Parties will work in good
   faith to use the Bellwether Cases to resolve issues common to all cases and to
   evaluate similar claims. See In re Chevron U.S.A., Inc., 109 F.3d 1016, 1019
   (5th Cir. 1997) (“If a representative group of claimants are tried to verdict, the
   results of such trials can be beneficial for litigants who desire to settle such
   claims by providing information on the value of the cases as reflected by the jury
   verdicts.); see also In re Hanford Nuclear Rsrv. Litig., 534 F.3d 986, 1008 (9th
   Cir. 2008) (“We recognize that the results of the Hanford bellwether trial are not
   binding on the remaining plaintiffs.”).
   7.      Discovery Limitations
   The Parties agree to modify the discovery limits set out in the Federal Rules of
   Civil Procedure for this Bellwether process as follows:
         a. The Parties shall be entitled to serve 50 Requests for


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   Admissions, as provided in Fed. R. Civ. P. 36.
         b. The Parties further agree that all written discovery
   requests may be directed at more than one Bellwether Plaintiff.
   8.      Deadlines
         a. Pursuant to Fed. R. Civ. P. 16(b)(3) and LR 16.2(a)(6), the fact
   discovery deadline shall be September 5, 2023, and the expert discovery
   deadline shall be November 15, 2023. Unless otherwise permitted by the Court,
   all discovery pursuant to Federal Rules of Civil Procedure, Rules 26 through 37
   inclusive must be completed by these discovery deadlines.
         b. Unless otherwise permitted by the Court, all discovery motions and
   conferences made or requested pursuant to Federal Rules of Civil Procedure,
   Rules 26 through 37 inclusive of LR 26.1, 26.2, and 37.1 shall be filed no later
   than October 16, 2023.
   MOTIONS:

   9.    Dispositive motions shall be filed by November 15, 2023.
   10.    All other non-dispositive motions including any motion requiring an
   evidentiary hearing (including Daubert motions) shall be filed by January 15,
   2024. This deadline does not include motions in limine or discovery motions.
   Motions in limine shall be filed by February 26, 2024. Any opposition
   memorandum to a motion in limine shall be filed by March 4, 2024.

   SETTLEMENT:
   11.    A settlement conference shall be held on December 18, 2023, at 11:00
   a.m. in Chambers of Magistrate Judge Kenneth J. Mansfield before the



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   Honorable Kenneth J. Mansfield, United States Magistrate Judge.

   12.    Each party shall deliver to the presiding Magistrate Judge a confidential
   settlement conference statement by December 11, 2023. The parties are directed
   to LR l 6.5(b) for the requirements of the confidential settlement conference
   statement.
   13.    The parties shall exchange written settlement offers and meet and
   confer to discuss settlement before the date on which settlement conference
   statements are due.

   TRIAL AND FINAL PRETRIAL:

   14.    A Telephonic final pretrial conference shall be held on February 20, 2024,
   at 9:45 AM before the Honorable Kenneth J. Mansfield, United States
   Magistrate Judge.
   15.    Pursuant to LR 16.4, each party herein shall serve and file a separate final
   pretrial statement by February 13, 2024.
   16.    By February 27, 2024, the parties shall pre-mark for identification all
   exhibits and shall exchange or, when appropriate, make available for inspection
   all exhibits to be offered, other than for impeachment or rebuttal, and all
   demonstrative aids to be used at trial.
   17.    By March 4, 2024, each party shall serve and file a final comprehensive
   witness list indicating the identity of each witness that the party will call at trial
   and describing concisely the substance of the testimony to be given and the
   estimated time required for the testimony of the witness on direct examination.
   18.    The parties shall make arrangements to schedule the attendance of


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   witnesses at trial so that the case can proceed with all due expedition and
   without any unnecessary delay.

   19.     The party presenting evidence at trial shall give notice to the other party
   the day before of the names of the witnesses who will be called to testify the
   next day and the order in which the witnesses will be called.

   20.     The parties shall meet and confer regarding possible stipulations
   to the authenticity and admissibility of proposed exhibits by March 4,
   2024.
   21a. By March 4, 2024, the parties shall serve and file statements designating
   excerpts from depositions (specifying the witness and page and line referred to)
   to be used at trial other than for impeachment or rebuttal.
     b.    Statements counter-designating other portions of depositions or any
   objections to the use of depositions shall be served and filed by March 11, 2024.
   22.     By March 11, 2024, each party shall serve and file a trial brief on all
   significant disputed issues of law, including foreseeable procedural and
   evidentiary issues, setting forth briefly the party's position and the supporting
   arguments and authorities.
   23.     By March 11, 2024 the parties shall file any objections to the
   admissibility of exhibits. Copies of any exhibits to which objections are made
   shall be attached to the objections.
   24a. The original set of exhibits and two copies (all in binders) and a list of all
   exhibits shall be submitted to the Court by March 18, 2024.
     b. A thumb drive of all exhibits shall be submitted to the Court by March 18,
     2024.


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   25.      (RESERVED)
   26.      (RESERVED)
   27.      (RESERVED)
   28.      A final pretrial conference shall be held on March 12, 2024, at 10:00 AM
   in Aha Nonoi before the Honorable Leslie E. Kobayashi, United States District
   Judge.

   PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW:
   29.      Each party shall serve and file proposed findings of fact and
   conclusions of law by March 18, 2024.


  STIPULATED AND AGREED TO BY:

  /s/ Maggie Neusel (with permission)              /s/ Eric Rey
  Maggie Neusel                                    Eric Rey
  Just Well Law, PLLC                              Trial Attorney, U.S. Dep’t of Justice
  Attorney for Plaintiffs                          Attorney for Defendant


         IT IS SO ORDERED.

         DATED: Honolulu, Hawaii, August 8, 2023.




   Patrick Feindt, Jr. vs. United States of America, The; 1:22-CV-00397-LEK-KJM;
   Stipulated Second Amended Rule 16 Scheduling Order




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